                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION

                                      NO. 4:17-CR-5-FL-1


 UNITED STATES OF AMERICA                       )
                                                )
           v.                                   )
                                                                      ORDER
                                                )
 SANJAY KUMAR,                                  )
                                                )
                         Defendant              )



       This matter is before the court upon receipt of correspondence from defendant dated May

29, 2024, filed in the case June 10, 2024 (DE 748). Where defendant is represented by appointed

counsel, Meredith Woods Hubbard, who filed notice of attorney appearance on behalf of defendant

May 31, 2024, all filings must be made by counsel. See United States v. Singleton, 107 F.3d

1091, 1103 (4th Cir. 1997) (stating that upon appointment, “counsel, not the client, [must] take

over completely and act as the spokesperson of the defense’s case”); Local Criminal Rule 47.3(h)

and 57.1(d) (counsel must sign all filed documents).

       Moreover, defendant is noticed that decisions in the case that “primarily involve trial

strategy and tactics, such as what evidence should be introduced, what stipulations should be made,

what objections should be raised, and what pre-trial motions should be filed” may be made by

counsel without a defendant’s consent. Sexton v. French, 163 F.3d 874, 885 (4th Cir. 1998).

Where defendant previously was admonished in this case to cease pro se communications with the

court when he is represented by counsel, (see, e.g., Text Order October 11, 2019), the court

reiterates this admonition.




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       The court DIRECTS defendant to cease pro se communications with the court and

CAUTIONS defendant that future filings and motions made pro se by defendant, if any, summarily

may be disregarded. Towards that end, going forward in the case, any pro se motion submitted

by defendant will be terminated as a pending motion by the clerk’s office without further direction

from the undersigned.

       SO ORDERED, this the 11th day of June, 2024.



                                             _____________________________
                                             LOUISE W. FLANAGAN
                                             United States District Judge




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